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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


UNITED STATES OF AIIERICA                  Crim.    No.   09-501      (SRC)

            V.                             Hon.    Stanley R.      Chesler

ROBINSON BORDAMONTE,      et al.   :       UNSEALING ORDER


       This matter having come before       the Court on the application

of   the United States of America,       Ralph J.   Marra,     Jr.,    Acting

United States Attorney      (Leslie Faye Schwartz,          Assistant U.S.

Attorney,   appearing)    for an order that the Indictment and related

papers   in the above-captioned matter be unsealed;             and the

Indictment and related papers having become unsealed by virtue
                                                               of

the arrests of   the defendants;       and for good cause shown,
                        C
      IT IS ON this’!     day of July,     2009,

      ORDERED that the Indictment and related papers                filed in the

above-captioned matter are unsealed.


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                                          HO? STANLEfl. CHESLER
                                          UNITED STATES DISTRICT JUDGE
